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           Exhibit “A”
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                                       102195




Christopher Ritchie                                                                                          Invoice:     8250
In Re Payment Interchange Class I QSF
The Huntington National Bank
1150 First Avenue, Suite 501
King of Prussia, PA 19406

                                                                                                     Date:          02/10/2017
Client ID:    3087560                                                                                Due Date:      03/12/2017

For professional services rendered as follows:

             DATE            SERVICE                                            STAFF                HOURS              AMOUNT


Qualified Settlement Fund Tax Services
             03/16/2016      Preparation                                         JGM                  2.30
                                 1st quarter estimate.
             06/01/2016      Preparation                                         JGM                  4.90
             06/02/2016      Preparation                                         JGM                  2.40
             08/10/2016      Preparation                                         JGM                  2.80
             08/11/2016      Preparation                                         JGM                  1.20
             08/15/2016      Preparation                                         JGM                  1.60
             08/29/2016      Preparation                                         JGM                  2.80
             08/30/2016      Preparation                                         JGM                  0.40
             11/21/2016      Preparation                                         JGM                  3.50
             12/01/2016      Preparation                                         JGM                  3.50
             12/05/2016      Preparation                                         JGM                  2.75
             12/05/2016      Preparation                                         JPD                  0.25
                                 Review emails re orders pertaining to
                                 status of QSF
             12/06/2016      Review                                              JPD                  2.25
                                 Review Q4 estimated tax calculation
             01/10/2017      Preparation                                         JGM                  2.25
                                 Preparation and filing of the 2016
                                 Qualified Settlement Fund Income Tax
                                 Return.
             01/19/2017      Preparation                                         JGM                  3.25
             01/20/2017      Preparation                                         JGM                  2.50
             01/23/2017      Research                                            MBT                  1.00
                                 Call IRS re: missing $142,000 refund.
                                 Note file, email Emily/Jude. Second call
                                 to IRS to move credit. Note file.
             01/23/2017      Preparation                                         JGM                  3.25

                                      MAIN: 818.769.2010   FAX: 818.769.3100   FED EIN: XX-XXXXXXX
                                                           MillerKaplan.com
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          01/24/2017      Preparation                                          JGM                   2.25
          02/07/2017      Final Review                                         JPD                   2.00
                                                                                Subtotal                     11,622.50
Consulting Services
          03/16/2016      Calculations                                         JGM                   0.40
                              work related to allocation of
                              administration fees.
          03/21/2016      Calculations                                         JGM                   0.80
                              work related to expense allocation.
          12/01/2016      Research                                             NAS                   2.00
                              Call with JPD re: reversal and remand of
                              settlement. Research re: status of QSF.
                                                                                Subtotal                       940.00
                                                                                Total for Services           12,562.50

                                                                                Admin & Overhead Charge       1,884.41
                                                                                Invoice Total               $14,446.91




        02/10/2017          01/31/2017            12/31/2016             11/30/2016        10/31/2016+           Total
         14,446.91                0.00                  0.00                   0.00                0.00     $14,446.91



                                  MAIN: 818.769.2010     FAX: 818.769.3100   FED EIN: XX-XXXXXXX
                                                        MillerKaplan.com
